                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

 In re:                                                   Case No. 19-46577-mlo
                                                          Hon. Maria L. Oxholm
 ANDREW STEPHEN HULETT,                                   Chapter 7

           Debtor.


 MANAGEDWAY COMPANY,

           Plaintiff,
                                                           Adversary No. 19-04308-mlo
 vs.

 ANDREW STEPHEN HULETT,

           Defendant.

                         ORDER GRANTING EX-PARTE MOTION
               FOR EXPEDITED HEARING ON DEFENDANT’S MOTION TO
               COMPEL DEPOSITION OF PLAINTIFF’S EXPERT WITNESS

          This matter came before the Court on the Debtor’s Ex-Parte Motion for Expedited Hearing

on Defendant’s Motion to Compel Deposition of Plaintiff’s Expert Witness. The Court has

determined that good cause exists for scheduling an expedited hearing on shortened notice.

Accordingly,

          IT IS ORDERED that the Motion to Compel Deposition of Plaintiff’s Expert Witness

shall be held on Thursday, August 27th, 2020 at 2:00 p.m1.




1 Consistent with the Court’s Administrative Order No. 2020-4 filed March 16, 2020, effective immediately and until
further notice, Judge Oxholm will conduct all conferences and non-evidentiary hearings by telephone. At least five
minutes before the scheduled time for hearing, counsel and parties should call (877) 336-1831 and use Access Code
6226995. Landline connections are much preferred, but cell phone or other telephone services are allowed. Counsel
and parties should place their phone on mute and wait until their case is called before unmuting their phone and
participating



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Signed on August 17, 2020




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